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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re                                                     Chapter 11

                                                          Case No. 23-10831 (MFW)
Lordstown Motors Corp., et al.,1

                                                          (Jointly Administered)
                                        Debtors.
                                                          Objection Deadline: March 12, 2024 at 4:00 p.m. (ET)



         SUMMARY OF FOURTH MONTHLY APPLICATION OF WOMBLE
    BOND DICKINSON (US) LLP FOR COMPENSATION FOR SERVICES RENDERED
        AND REIMBURSEMENT OF EXPENSES AS CO-COUNSEL FOR THE
           DEBTORS AND DEBTORS IN POSSESSION FOR THE PERIOD
              FROM JANUARY 1, 2024 THROUGH JANUARY 31, 2024

Name of Applicant:                                           Womble Bond Dickinson (US) LLP

Authorized to Provide Professional Services to:              Debtors and Debtors-in-Possession

Date of Retention:                                           Effective October 6, 2023

Period for which Compensation and                            January 1, 2024 to January 31, 2024
Reimbursement is Sought:
Amount of Compensation sought as Actual,
Reasonable and Necessary:                                    $19,308.80 (80% of $24,136.00)

Amount of Expense Reimbursement sought as
actual, reasonable and necessary:                            $0.00


This is a(n): X Monthly                       Interim              Final Fee Application

This is WBD’s fourth monthly application.

The total time expended in connection with the preparation of this fee application is not included
herein as such time was expended after the Application Period.




1
         The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown
Motors Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’
service address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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                              TIMEKEEPER SUMMARY



                       POSITION/DATE
   NAME OF                                        HOURLY     TOTAL             TOTAL
                        ADMITTED TO
 PROFESSIONAL                                     BILLING    HOURS         COMPENSATION
                       BAR/NUMBER OF
    PERSON                                         RATE      BILLED           SOUGHT
                           YEARS


                       Partner; Admitted to
Donald J. Detweiler    Delaware Bar 1992;         $845.00       0.8             $676.00
                        Joined WBD 2022


                       Partner; Admitted to
Morgan L. Patterson    Delaware Bar 2009;         $720.00       18.4           $13,248.00
                        Joined WBD 2013


                      Paralegal; Joined WBD
Cynthia S. Giobbe                                 $370.00       27.6           $10,212.00
                               2022

TOTALS                                                         46.8            24,136.00
Total Blended Rate                                                              $515.73




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                   SUMMARY OF SERVICES BY TASK CODE

  TASK                  TASK DESCRIPTION                         HOURS          AMOUNT
  CODE

BKB       Investigation of Claims                                   1.7          $769.00
BKCO      Claims Objections                                         4.5         $3,240.00
BKD       Documentations/Plan Negotiation                          12.3         $7,226.00
BKE       Executory Contracts/Lease Agreements                      2.7         $1,384.00
BKF       Fee Application/Monthly Billing                           2.6         $1,242.00
BKFO      Fees of Others                                            8.6         $3,497.00
BKG       General Case Administration                               1.8          $666.00
BKH       Court Hearings/Preparation/Agenda                         7.3         $3,451.00
BKLT      Litigation                                                3.6         $2,032.00
BKRO      Retention of Others                                       0.3          $111.00
BKRS      Reports and Schedules                                     1.4          $518.00
          Total                                                    46.8         $24,136.00




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                            SUMMARY OF EXPENSES


               EXPENSE CATEGORY                     TOTAL EXPENSES

Binding                                                     $0.00
Filing Fee                                                  $0.00
Messenger/Courier Service                                   $0.00
Photocopies                                                 $0.00
Postage                                                     $0.00
Transcript                                                  $0.00
Total Expenses Requested:                                   $0.00




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE



In re                                                     Chapter 11

                                                          Case No. 23-10831 (MFW)
Lordstown Motors Corp., et al.,1

                                                          (Jointly Administered)
                                        Debtors.
                                                          Objection Deadline: March 12, 2024 at 4:00 p.m. (ET)



                FOURTH MONTHLY APPLICATION OF WOMBLE
    BOND DICKINSON (US) LLP FOR COMPENSATION FOR SERVICES RENDERED
        AND REIMBURSEMENT OF EXPENSES AS CO-COUNSEL FOR THE
           DEBTORS AND DEBTORS IN POSSESSION FOR THE PERIOD
              FROM JANUARY 1, 2024 THROUGH JANUARY 31, 2024

                  Womble Bond Dickinson (US) LLP (“WBD”), as co-counsel to debtors and

debtors in possession (collectively, the “Debtors”) in these chapter 11 bankruptcy cases (the

“Chapter 11 Cases”), submits its second monthly fee application (the “Application”), pursuant to

sections 330(a), 331, and 1103 of Title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (as

amended, the “Bankruptcy Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), Rule 2016-2 (“Local Rule 2016-2”) of the Local Rules of Bankruptcy

Practice and Procedure of the United States Bankruptcy Court for the District of Delaware (the

“Local Rules”), the United States Trustee Guidelines for Reviewing Applications for

Compensation and Reimbursement of Expenses Filed Under 11 U.S.C. § 330 issued by the

Executive Office for United States Trustees (the “Guidelines”), and this Court’s Order

Establishing Procedures for Interim Compensation and Reimbursement of Expenses for Chapter


1
         The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown
Motors Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’
service address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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11 Professionals and Committee Members [Docket No. 181] (the “Interim Compensation Order”),

for the allowance of compensation for professional services performed by WBD for the period

January 1, 2024 through and including January 31, 2024 (the “Application Period”) in the

amount of $24,136.00 together with reimbursement for actual and necessary expenses in the

amount of $0.00 incurred during the Application Period. In support of the Application, WBD

respectfully represents as follows:

                                JURISDICTION AND VENUE

        1.     This Court has jurisdiction over this Application pursuant to 28 U.S.C. §§ 157 and

1334.

        2.     Venue of these cases and this Application is proper in this district pursuant to 28

U.S.C. §§ 1408 and 1409.

        3.     The statutory predicates for the relief sought herein are Bankruptcy Code sections

330 and 331.

                                        BACKGROUND

               4.      On June 27, 2023 (the “Petition Date”), the Debtors filed voluntary petitions

for relief under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the

District of Delaware (the “Court”), commencing these chapter 11 cases. Since the Petition Date,

the Debtors have remained in possession of their assets and have continued to operate and manage

their businesses as debtors-in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy

Code. No trustee or examiner has been appointed in these Chapter 11 Cases.

               5.      On July 11, 2023, the Office of the United States Trustee for the District

of Delaware (the “U.S. Trustee”) appointed the official committee of unsecured creditors (the

“Creditors’ Committee”) for these Chapter 11 Cases. On September 7, 2023, the U.S. Trustee

appointed the official committee of equity security holders (the “Equity Committee” and

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collectively with the Creditors’ Committee, the “Committees”) for these Chapter 11 Cases. No

trustee or examiner has been appointed in these Chapter 11 Cases.

               6.     Information regarding the Debtors’ history, business operations, capital

structure, indebtedness, and the events leading up to the commencement of these Chapter 11 Cases

can be found in the Declaration of Adam Kroll in Support of Debtors’ Chapter 11 Petitions and

First Day Motions [Docket No. 15].

               7.     On October 31, 2023, WBD applied to the Court for an order authorizing

the Debtors to retain WBD as its counsel, nunc pro tunc to October 6, 2023 [Docket No. 647]

(the “Retention Application”).

               8.     On November 20, 2023, the Court entered an Order approving the

retention of WBD as counsel to the Debtors, nunc pro tunc to October 6, 2023 [Docket No. 717

(the “Retention Order”).

                           SUMMARY OF SERVICES RENDERED

               9.     Attached hereto as Exhibit A is a detailed statement of fees incurred by

WBD during the Application Period in the amount of $24,136.00.

               10.    The services rendered by WBD during the Application Period are grouped

into categories set forth in Exhibit A.     The attorneys and paraprofessionals who rendered

services relating to each category are identified, along with the number of hours for each

individual and the total compensation sought for each category are set forth in Exhibit A.

                                 SUMMARY OF EXPENSES

       11.     Attached as Exhibit B are WBD’s itemized records detailing expenses incurred

on behalf of the Debtors during the Application Period in the amount of $0.00. All entries

detailed in Exhibit B comply with the requirements set forth in Local Rule 2016-2(e),



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including an itemization of the expenses by category, the date the expense was incurred, and the

individual incurring the expense, where available.

        12.     WBD has not charged the Debtors for internal photocopying expenses. WBD

also does not charge for outgoing facsimile transmissions.2             The rates incurred by WBD in

connection with third-party photocopying, electronic data management services, including

scanning and document imaging, travel, travel-related expenses, business meals, messengers,

couriers, postage, witness fees, and other fees related to trials and hearings are billed at cost, as

set forth in Exhibit B. As per the Guidelines, WBD has not requested reimbursement of

expenses related to overhead charges, such as secretarial services and proofreading.

                                    VALUATION OF SERVICES

        13.     WBD’s attorneys and paraprofessionals expended a total of 46.8 hours for the

Application Period. The professional time expended by the firm, the value of said time in fees,

and the value of the actual expenses incurred by the firm were actual, reasonable, and necessary.

In all respects, the firm’s fees and expenses meet the standards for allowance under Bankruptcy

Code section 330, as well as the standards that govern the review and allowance of bankruptcy

professionals’ fees.

        14.     In accordance with the factors enumerated in section 330 of the Bankruptcy Code,

the amount requested is fair and reasonable given (i) the complexity of the case, (ii) the time

expended, (iii) the nature and extent of the services rendered, (iv) the value of such services, and

(v) the costs of comparable services other than in a case under chapter 11 of the Bankruptcy

Code.




2
        To the extent WBD uses an outside vendor for volume faxing, WBD bills those charges at cost. WBD
seeks competitive market rates for such outside vendor services.

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                   RESPONSES TO FEE GUIDELINES QUESTIONNAIRE

Question                                                 Response          Explanation

Did you agree to any variations from, or                    No                 N/A
alternatives to, your standard or
customary billing rates, fees or terms for
services pertaining to this engagement
that were provided during the application
period? If so, please explain.

If the fees sought in this fee application as              N/A                 N/A
compared to the fees budgeted for this
time period covered by this fee
application are higher by 10% or more,
did you discuss the reasons for the
variation with the client?

Have any of the professionals included in                   No                 N/A
this fee application varied their hourly
rate based on the geographic location of
the bankruptcy case?

Does the fee application include time or                    No                 N/A
fees related to reviewing or revising time
records or preparing, reviewing, or
revising invoices?

Does this fee application include time or                   No                 N/A
fees for reviewing time records to redact
any privileged or other confidential
information?

If the fee application includes any rate increases         N/A                This fee
since retention:                                                          application does
   i. Did your client review and approve those                            not include any
rate increases in advance?                                                 rate increases.
   ii. Did your client agree when retaining the
law firm to accept all future rate increases? If
not, did you inform your client that they need not
agree to modified rates or terms in order to have
you continue the representation, consistent with
ABA formal Ethics Opinion 11-458?




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                                RESERVATION OF RIGHTS

       15.     To the extent time or disbursement charges for services rendered or disbursements

incurred relate to the Application Period but were not processed prior to the preparation of this

Application, or WBD has for any other reason not sought compensation or reimbursement of

expenses herein with respect to any services rendered or expenses incurred during the

Application Period, WBD reserves the right to request additional compensation for such services

and reimbursement of such expenses in a future application.

                        CERTIFICATE OF COMPLIANCE AND WAIVER

       16.     The undersigned representative of WBD certifies that the undersigned has

reviewed the requirements of Local Rule 2016-2, and that the Application substantially complies

with such Local Rule. To the extent that the Application does not comply in all respects with the

requirements of Local Rule 2016-2, the undersigned believes that such deviations are not

material. Accordingly, WBD respectfully requests that any such requirements be waived.




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                                       CONCLUSION

          WHEREFORE, WBD respectfully requests that it be granted (i) a monthly allowance of

fees in the amount of $24,136.00 and authority for an interim payment of compensation for

professional services rendered herein as counsel to the Debtors during the Application Period in

the amount of $19,308.80, which is eighty percent (80%) of the fees incurred; (ii) reimbursement

of expenses in the amount of $0.00; and (iii) such further relief as the Court may deem just and

proper.

Dated: February 21, 2024
Wilmington, Delaware                        /s/ Morgan L. Patterson
                                            WOMBLE BOND DICKINSON (US) LLP
                                            Donald J. Detweiler (DE Bar No. 3087)
                                            Morgan L. Patterson (DE Bar No. 5388)
                                            1313 North Market Street, Suite 1200
                                            Wilmington, Delaware 19801
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                                            Counsel to the Debtors and Debtors in Possession




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